       Case 11-02071                 Doc 290           Filed 09/19/21              Entered 09/20/21 00:15:51                        Page 1 of 4
                                                              United States Bankruptcy Court
                                                                  District of Connecticut
Berman,
      Plaintiff                                                                                                        Adv. Proc. No. 11-02071-jam
Pavano,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0205-2                                                  User: pesposito                                                             Page 1 of 2
Date Rcvd: Sep 17, 2021                                               Form ID: 112                                                               Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 19, 2021:
Recip ID                   Recipient Name and Address
dft                    +   Alfred Fincher, 3029 NE 188 St., Apt. 408, Miami, FL 33180-2993
dft                    +   Anthony DeGennaro, as trustee of Extra Inning Dyna, 92 Ladyslipper Lane, Southington, CT 06489-1083
dft                    +   Carl Pavano, 110 Playa Rienta Way, West Palm Beach Gardens, FL 33418-6210
pla                    +   James Berman, Zeisler & Zeisler, 10 Middle Street, 15th Floor, Bridgeport, CT 06604-4299
dft                    +   Kinsale Group LLC, 8374 Market Street # 236, Bradenton, FL 34202-5137
mpp                    +   Lawrence J. Marks, Trustee, 9C Pasco Drive, East Windsor, CT 06088-1707
dft                    +   Melanie Custer, 7527 Rigby Court, Bradenton, FL 34202-2454
dft                    +   Richard Polidori, 3777 NE 7th Drive, Boca Raton, FL 33431-6123
dft                    +   Roland LaBonte, 195 Ragatta Drive, Admirals Cove, Jupiter, FL 33477-4012

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
intp                           Scott A. LaBonte

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 19, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 17, 2021 at the address(es) listed
below:
Name                               Email Address
Anthony J. Natale
       Case 11-02071        Doc 290          Filed 09/19/21            Entered 09/20/21 00:15:51                    Page 2 of 4
District/off: 0205-2                                       User: pesposito                                                      Page 2 of 2
Date Rcvd: Sep 17, 2021                                    Form ID: 112                                                        Total Noticed: 9
                          on behalf of Miscellaneous Proceeding Party Lawrence J. Marks Trustee anatale@natalelawfirm.com

David M.S. Shaiken
                          on behalf of Interested Party Scott A. LaBonte david@shipmanlawct.com

James M. Moriarty
                          on behalf of Plaintiff James Berman jmoriarty@zeislaw.com kjoseph@zeislaw.com

Jed Horwitt
                          on behalf of Plaintiff James Berman jhorwitt@zeislaw.com kjoseph@zeislaw.com

John L. Cesaroni
                          on behalf of Plaintiff James Berman jcesaroni@zeislaw.com

Mark H. Dean
                          on behalf of Defendant Roland LaBonte mdean@mhdpc.net

Patrick R. Linsey
                          on behalf of Plaintiff James Berman plinsey@npmlaw.com agarcia@npmlaw.com

Ross G. Fingold
                          on behalf of Defendant Richard Polidori rfingold@lawssf.com

Stephen M. Kindseth
                          on behalf of Plaintiff James Berman skindseth@zeislaw.com swenthen@zeislaw.com;kjoseph@zeislaw.com

Timothy D. Miltenberger
                          on behalf of Defendant Carl Pavano tmiltenberger@coanlewendon.com


TOTAL: 10
  Case 11-02071               Doc 290   Filed 09/19/21    Entered 09/20/21 00:15:51        Page 3 of 4

                          United States Bankruptcy Court
                                    District of Connecticut
                                                                                      Filed and Entered
                                                                                          On Docket
                                                                                     September 17, 2021


In re:
         Michael S. Goldberg, L.L.C and Michael S. Goldberg                      Case Number: 09−23370 jam
                                         Debtor*                                 Chapter: 7

         James Berman et al.
                                         Plaintiff(s)
         v.                                                                      Adversary Proceeding
                                                                                 No.: 11−02071 jam
         Carl Pavano et al.
                                        Defendant(s)




                                        NOTICE OF CONTINUED HEARING


PLEASE TAKE NOTICE that a hearing will be held remotely using the ZoomGov platform pursuant to the Court's
General Order #4 Regarding Court Operations under the Exigent Circumstances Created by COVID−19, and is
scheduled in the above captioned case to be held on December 14, 2021 at 12:00 PM to consider and act upon the
following matter(s):


              Motion for Protective Order Filed by Mark H. Dean on behalf of Roland LaBonte,
              Defendant. (Re: Doc #248)
              Motion for Protective Order Regarding Post Judgment Subpoenas Filed by Mark H.
              Dean on behalf of Roland LaBonte, Defendant. (Re: Doc #252)

              Motion for Protective Order and Motion to Quash Filed by Anthony J. Natale on behalf
              of Lawrence J. Marks, Trustee, Miscellaneous Proceeding Party. (Re: Doc #253)

              Motion to Quash Subpoenas and for Protective Order Filed by Anthony J. Natale on
              behalf of Lawrence J. Marks, Trustee, Miscellaneous Proceeding Party. (Re: Doc #254)




TO THE FILING PARTY: If you or your attorney fail to participate in the above scheduled hearing, the court may
enter an order denying the matter(s) identified above.




See below for ZoomGov Connection Instructions to participate via video and/or telephonically.
  Case 11-02071             Doc 290     Filed 09/19/21       Entered 09/20/21 00:15:51               Page 4 of 4

                                 Important Policy Notice to the Bar, Public, and Media



Persons granted remote access to hearings and other proceedings held before the Court via ZoomGov,
CourtSolutions, CourtCall, or any other remote communication platform, are reminded that pursuant to policy of the
Judicial Conference of the United States and D. Conn. Bankr. L. R. 5073−1, it is absolutely prohibited to record,
photograph, rebroadcast or retransmit such proceedings (including streaming, screen−shots or any other audio or
video reproduction).

A violation of these prohibitions is subject to sanctions, including but not limited to restricted access to future
hearings, removal of court issued media credentials, or any other sanctions deemed necessary by the Court.



                   ZOOMGOV REMOTE HEARING INFORMATION FOR PARTICIPANTS :

If you are the debtor, CM/ECF Filer, or CM/ECF User and will be participating in the above scheduled hearing, at
least THREE business days before the scheduled hearing, you must contact the Clerk's Office for instructions to
connect to the ZoomGov remote hearing by sending an email to the following court email address:
CalendarConnect_BPT@ctb.uscourts.gov. If you do not have an email address, you may call the Clerk's Office at
(203)579−5808 for the instructions.
PUBLIC ACCESS TO REMOTE HEARING−LISTEN ONLY: If you are not a Remote Hearing Participant
but would like to listen to the hearing, please use the court hearing conference line at 1−877−336−1274 and input the
Access Code: 1077800 when prompted.



For further instruction and best practices for appearing remotely utilizing ZoomGov, please find the ZoomGov Guide
for Participants on our website at www.ctb.uscourts.gov.

Dated: September 17, 2021


                                                                                        Pietro Cicolini
                                                                                        Clerk of Court

United States Bankruptcy Court                                                    Tel. (860) 240−3675
District of Connecticut                                                           VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                        * Voice Case Information System
Hartford, CT 06103                                                                http://www.ctb.uscourts.gov
                                                                                  Form 112 − pe
